                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION

 KIMBERLY DIEI,

                Plaintiff,

        v.

 RANDY BOYD, in his individual and official
 capacity as President of the University of
 Tennessee System; CHRISTA GEORGE, in
 her individual and official capacity as Chair
                                                         CIVIL ACTION NO.: _____________
 of the University of Tennessee Health Science
 Center College of Pharmacy’s Professional
 Conduct Committee; BRAD BOX; JOHN
                                                         JURY TRIAL DEMANDED
 COMPTON; CHARLES HATCHER;
 DECOSTA JENKINS; KARA LAWSON;
 AMY MILES; WILLIAM RHODES III;
 DONNIE SMITH; KIM WHITE; ALAN
 WILSON, AND; JAMIE WOODSON, in
 their official capacities as members of the
 Board of Trustees of the University of
 Tennessee,

                 Defendants.




                                         COMPLAINT


                                       INTRODUCTION

       1.      Kimberly Diei brings this First Amendment lawsuit because her public university

is violating her constitutional rights by policing her personal, off-campus expression on social

media. Diei was nearly expelled from the University of Tennessee Health Science Center

College of Pharmacy after university officials twice investigated her personal social media

activity, concluding some of her posts were too “crude,” “vulgar,” or “sexual.” Because of the
vague, subjective standards employed by university officials during this shocking ordeal, Diei

fears that participating in everyday discussions online may again put her doctoral degree at risk.

The First and Fourteenth Amendments do not allow this result.

       2.      A University of Chicago graduate now pursuing a Doctor of Pharmacy degree,

Diei is an excellent student. Outside of school, Diei expresses herself on social media using the

pseudonym “KimmyKasi.” In particular, Diei enjoys commenting on topics of interest to her and

other young, black social media users, occasionally using profanity and freely expressing her

views about sexuality. None of her posts identify her as a College of Pharmacy student or

indicate any affiliation with the University of Tennessee.

       3.      Through an anonymous complaint, the College of Pharmacy’s Professional

Conduct Committee (“Committee”) learned of Diei’s social media activity in 2019. After an

“investigation,” the Committee punished Diei for allegedly violating “various professionalism

codes.” A year later, the Committee again investigated Diei’s social media activity. In four days,

the Committee contacted Diei about her social media, “investigated” her social media, and

unanimously voted to expel her for posting “sexual,” “crude,” and “vulgar” content that again

allegedly violated “various professionalism codes.” Despite punishing Diei twice under these

“various professionalism codes,” the Committee never provided them to Diei. To this day, Diei

does not know what policy she violated or what expression the College of Pharmacy considers

too “sexual,” “crude,” or “vulgar” for its doctoral students’ social media activity. Although Diei

successfully appealed her expulsion, Diei fears that it is simply a matter of time before the

Committee begins another investigation into her protected expression on social media.

       4.      The College of Pharmacy cannot police and punish the protected expression of

students like Kimberly Diei simply because officials do not like or understand it. Papish v. Bd. of




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Curators of Univ. of Mo., 410 U.S. 667, 670 (1973) (“[T]he mere dissemination of ideas—no

matter how offensive to good taste—on a state university campus may not be shut off in the

name alone of ‘conventions of decency.’”). “[S]tate colleges and universities are not enclaves

immune from the sweep of the First Amendment.” Healy v. James, 408 U.S. 169, 180 (1972).

Accordingly, public institutions cannot investigate or discipline—let alone expel—students for

speech protected by the First Amendment. See Speech First, Inc. v. Schlissel, 939 F.3d 756, 765–

66 (6th Cir. 2019). But that is exactly what the University of Tennessee Health Science Center

College of Pharmacy tried to do.

                                  JURISDICTION AND VENUE

       5.      This action arises under the First and Fourteenth Amendments to the United

States Constitution; the Civil Rights Act of 1871, 42 U.S.C. §§ 1983 and 1988; and the

Declaratory Relief Act, 28 U.S.C. §§ 2201–2202. Plaintiff seeks declaratory and injunctive relief

against enforcement of the College of Pharmacy’s “various professionalism policies,” as well as

damages for violations of her free-speech and due-process rights.

       6.      Accordingly, this Court has original jurisdiction over these federal claims under

28 U.S.C. §§ 1331 and 1343.

       7.      Venue is proper in this District under 28 U.S.C. § 1391(b)(1) because at least one

of the defendants resides in this District.

       8.      Venue is also proper in this District under 28 U.S.C. § 1391(b)(2) because the

events giving rise to Plaintiff’s claims occurred within this District.

                                           THE PARTIES

       9.      At the time of filing this Complaint, Kimberly Diei is, and was at all times

relevant to the Complaint, a resident of Memphis, Tennessee. She is, and was at all times




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relevant to the Complaint, a student at the College of Pharmacy. Diei is pursuing her Doctor of

Pharmacy degree along with a certification in nuclear pharmacy.

       10.     Defendant Randy Boyd is, and was at all times relevant to this Complaint, the

president of the UT system. He is the chief executive officer in charge of the University of

Tennessee (“UT”) system. President Boyd manages and directs all affairs of the UT system

under the policies and regulations established by the Board of Trustees of the UT system.

President Boyd is responsible for the administration and enforcement of policies and regulations

relating to the operation of the College of Pharmacy. He is also responsible for preparing and

submitting to the Board for its approval all statements of policy or programs which he believes

are needed for the control and management of the College of Pharmacy. Thus, President Boyd is

responsible for the promulgation, implementation, and enforcement of the College of

Pharmacy’s policies, procedures, and practices, including those that were applied to deprive Diei

of her constitutional rights. President Boyd knew or reasonably should have known that the

College of Pharmacy’s policies, procedures, and practices would lead to this deprivation.

President Boyd knew that individuals under his supervision implemented the College of

Pharmacy’s policies, procedures, and practices that deprived Diei of her constitutional rights, and

President Boyd, with deliberate indifference, failed to act with regard to the constitutional rights

of Diei and all the College of Pharmacy students. At all times relevant to this Complaint,

President Boyd acted under color of state law and is sued in his individual and official capacities.

       11.     Defendant Christa George is, and was at all times relevant to this Complaint, an

Associate Professor of Clinical Pharmacy and Translational Science and the Chairperson of the

College of Pharmacy’s Professional Conduct Committee. The Committee, which is composed of

nine faculty members and three student members, investigates complaints of unprofessional




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conduct. As Chairperson, George is responsible for supervising and implementing policies and

procedures for student conduct and discipline relating to professionalism. Thus, Chairperson

George is responsible for promulgating, implementing, and enforcing the College of Pharmacy’s

policies, procedures, and practices, including those that were applied to deprive Diei of her

constitutional rights. Chairperson George knew or reasonably should have known that the

College of Pharmacy’s policies, procedures, and practices would lead to this deprivation.

Chairperson George knew that individuals under her supervision implemented the College of

Pharmacy’s policies, procedures, and practices that deprived Diei of her constitutional rights, and

Chairperson George, with deliberate indifference, failed to act with regard to the constitutional

rights of Diei and all College of Pharmacy students. At all times relevant to this Complaint,

Chairperson George acted under color of state law and is sued in her individual and official

capacities.

       12.     Defendants Brad Box, John Compton, Charles Hatcher, Decosta Jenkins, Kara

Lawson, Amy Miles, William Rhodes III, Donnie Smith, Kim White, Alan Wilson, and Jamie

Woodson are members of the Board of Trustees of the UT system (“Board”). The Board is the

governing body responsible for the formulation and approval of policies for the operation of the

UT system, which includes the College of Pharmacy. See Tenn. Code Ann. § 49-9-209(e)(1);

Tenn. Code Ann. § 49-9-209(d)(1)(I). The Board is responsible for considering and adopting the

recommendations of the UT president on matters of policy. The Board approved the College of

Pharmacy’s policies, procedures, and practices that resulted in the deprivation of Diei’s

constitutional rights, and the Board knew or reasonably should have known that the College of

Pharmacy’s policies, procedures, and practices would lead to this deprivation. Despite this

knowledge, the Board was deliberately indifferent to the unconstitutionality of the College of




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Pharmacy’s policies, procedures, and practices as well as Diei’s constitutional rights. At all times

relevant to this Complaint, the trustees of the Board acted under color of state law and are sued

only in their official capacities.

                                     FACTUAL ALLEGATIONS

Kimberly Diei Is an Excellent Student at the College of Pharmacy.

        13.     Diei graduated from the University of Chicago with a Bachelor of Arts in

Biological Sciences in June 2015.

        14.     In August 2019, Diei began her studies at the College of Pharmacy.

        15.     Diei is pursuing a Doctor of Pharmacy degree at the College of Pharmacy, and

she anticipates graduating with her degree in 2023.

        16.     Diei is an excellent student and is in good academic standing at the College of

Pharmacy.

        17.     As a student at the College of Pharmacy, Diei has also secured competitive

internships.

        18.     No one from the College of Pharmacy has complained that Diei is unprofessional

in the classroom.

        19.     No one from the College of Pharmacy has complained that Diei has engaged in

unprofessional behavior apart from her social media posts.

        20.     No one from Diei’s internships has ever complained that Diei is unprofessional.

Diei Regularly Uses Social Media Under the Pseudonym “KimmyKasi.”

        21.     Since February 2016, Diei has maintained an Instagram account under the

pseudonym “KimmyKasi.”




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         22.   Since March 2016, Diei has also maintained a Twitter account under the

pseudonym “KimmyKasi.”

         23.   Diei uses the pseudonym KimmyKasi for her Instagram and Twitter accounts in

order to maintain separation between her life as Kimberly Diei and her online expression as

KimmyKasi.

         24.   Diei prefers to maintain separation between her life as Kimberly Diei and her

online expression as KimmyKasi because it allows her to more fully express herself in the public

arena.

         25.   Consequently, Diei has never identified herself in her social media posts as a

College of Pharmacy student nor has she indicated any affiliation with the University of

Tennessee.

         26.   Before the filing of this lawsuit, anyone who attempted to search for “Kimberly

Diei” on Google and other search engines would have a difficult time determining that

“Kimberly Diei” is “KimmyKasi” because of actions taken by Diei.

         27.   Diei does not restrict public access to her accounts and has gained a following by

commenting on topics of public interest. As a result, she has over 19,600 followers on Instagram

and over 1,600 followers on Twitter.

         28.   Diei has never used her personal social media accounts in a way that would

impact her ability to fulfill her academic and professional responsibilities.

         29.   Diei has never violated Instagram’s Terms of Use or Twitter’s Terms of Service.

         30.   Diei’s personal social media accounts do not contain nudity.

         31.   Diei has never used her social media accounts in a way that negatively impacts

her ability to complete the College of Pharmacy curriculum.




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        32.    Diei does not use her social media accounts in the classroom.

        33.    Diei uses her personal cellphone and computer when she uses her personal social

media accounts.

Chairperson George Punishes Diei for “Sexual” Social Media Posts in September 2019.

        34.    In September 2019, Committee Chairperson George informed Diei that an

anonymous individual reported her social media posts to the Committee.

        35.    Chairperson George told Diei that the Committee would investigate her social

media accounts to determine if her content violated the College of Pharmacy’s professionalism

policies.

        36.    Chairperson George did not provide Diei with any specific professionalism

policies that she allegedly violated.

        37.    Diei was informed that the College of Pharmacy maintains a policy entitled

“Standards for Student Professionalism Conduct.”

        38.    The College of Pharmacy, however, has never provided a policy entitled

“Standards for Student Professionalism Conduct” to Diei.

        39.    The College of Pharmacy represents to students that the “Standards for Student

Professionalism Conduct” is available at the following URL:

http://catalog.uthsc.edu/content.php?catoid=29&navoid=2706. However, this January 28, 2021

screenshot of the URL shows that it produces an error message, not a professionalism policy:




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       40.       As a result of the University’s actions, Diei has never seen a policy entitled

“Standards for Student Professionalism Conduct.”

       41.       Chairperson George also did not identify the specific content from Diei’s social

media accounts that were objectionable, including the specific content that prompted the

investigation.

       42.       On September 12, 2019, Diei appeared before the Committee after being

summoned by Chairperson George.

       43.       During the Committee meeting, Chairperson George informed Diei that the

Committee unanimously determined that Diei’s social media accounts violated the College of

Pharmacy’s professionalism policies because of the “sexual,” “crude,” and “vulgar” nature of her

content.

       44.       At this meeting, Chairperson George did not explain how the alleged “sexual” and

“crude” nature of Diei’s content violated the College of Pharmacy’s professionalism policies.

       45.       To this day, Diei does not know specifically how the “sexual” and “crude” nature

of her content violated the College of Pharmacy’s professionalism policies because Chairperson



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George has never explained how the allegedly “sexual,” “crude,” or “vulgar” nature of her

personal content violated those policies.

        46.    Due to the alleged “unprofessional” content, the Committee recommended to

Marie Chisholm-Burns, the Dean of the College of Pharmacy, that Diei write a letter reflecting

on her behavior and the expectations of the College of Pharmacy.

        47.    Dean Chisholm-Burns concurred with the Committee’s recommendations, and

she informed Diei of her decision on October 14, 2019.

        48.    Diei was extremely distressed by the decision of Dean Chisholm-Burns,

Chairperson George, and the Committee.

        49.    Diei felt that Dean Chisholm-Burns, Chairperson George, and the Committee

violated her free-speech rights by punishing her for personal content she published on her social

media accounts.

        50.    Diei agreed to write a letter because she wanted to continue her studies at the

College of Pharmacy, but Diei did not admit that she understood the professionalism policies and

stated that she would attempt to comply with her best guess as to what the College of

Pharmacy’s professionalism policies prohibited.

        51.    Dean Chisholm-Burns, Chairperson George, and the Committee did not provide

any specificity as to the expression prohibited by the College of Pharmacy’s professionalism

policies.

        52.    As a result of the Committee’s punishment and failure to provide her with any

specificity as to the expression prompting her punishment, Diei began to self-censor her social

media accounts in order to comply with her best guess as to what the College of Pharmacy’s

professionalism policies prohibited.




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         53.   From October 14, 2019, to August 26, 2020, Diei deliberately self-censored,

refraining from engaging in constitutionally protected expression because she feared that she

would again violate the College of Pharmacy’s professionalism policies.

         54.   Diei had a difficult time self-censoring because neither Chairperson George nor

anyone else at the College of Pharmacy identified the professionalism policies Diei allegedly

violated or explained how the “sexual” and “crude” nature of her personal content violated those

policies.

Chairperson George Votes to Expel Diei for the “Crude” and “Sexual” Nature of her Social
Media Posts in September 2020.

         55.   On Thursday, August 27, 2020, Chairperson George notified Diei by email that

she received another complaint concerning Diei’s “unprofessional social media posts.”

         56.   In the email, Chairperson George provided a link to screenshots of Diei’s Twitter

and Instagram accounts.

         57.   Diei does not identify herself as a student at the College of Pharmacy in any of the

posts.

         58.   Moreover, none of the posts identified by Chairperson George had any relation to

the College of Pharmacy’s curriculum.

         59.   In the screenshots sent by Chairperson George to Diei, Diei used profanity and

sexual commentary to express her viewpoints.

         60.   For example, in the following tweet, Diei contributed to a trending discussion on

Twitter about the song “WAP” by Cardi B featuring Megan Thee Stallion by suggesting lyrics

for a possible remix:




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       61.     Diei’s tweet was well within the normal bounds of discussion on social media.

One week after Diei’s tweet, the song “WAP” was number one on “Billboard’s Hot 100” list and

set a record for the most streamed song in the United States for an opening seven-day period

with 93 million streams.

       62.     In another tweet, Diei defended the lyrics of “WAP” against criticism from other

users—who were arguing that those lyrics were inappropriate—by pointing out that humans are

inherently sexual beings:




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       63.     And in another tweet, Diei joked about the amount of time she spends getting

prepared to go out for the evening by referencing the popular song “Partition” by Beyoncé:




       64.     Chairperson George advised Diei that she had until Monday, August 31, 2020, at

9 a.m. to respond to the complaint.

       65.     Although Chairperson George provided screenshots of Diei’s social media

activity, Diei did not know what specific aspects of those screenshots were objectionable to

Chairperson George or the Committee.




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         66.   In response to the complaint, Diei asked Chairperson George if she could identify

the “specific policy/guideline I have allegedly violated and exactly in what way I have allegedly

violated it. If you are able to provide a direct link as to where the policy resides I would

appreciate it as well. The UT literature I have access to is quite vague and I want to make sure [I]

thoroughly understand what specific standards/rules are in question. This would help me in my

defense.”

         67.   In response, Chairperson George did not provide a link to any specific policy or

quote the language of any policy that Diei allegedly violated. Instead, she stated that Diei had

agreed to “various professionalism codes” in the College of Pharmacy Handbook and Catalog.

         68.   Diei responded by stating that she was “still confused” about the nature of the

allegations against her, and she asked again “how specifically have I allegedly violated the

standard, code, policy, guideline?”

         69.   Chairperson George responded by stating that “[a]t this point, I think your

questions regard the merits of the professionalism inquiry and are best left for the meeting next

week.”

         70.   On August 29, 2020, Chairperson George informed Diei that she had to appear

before the Committee on September 1, 2020 for another meeting concerning her social media

posts.

         71.   Despite not knowing what policy she allegedly violated or what content

specifically violated this unknown policy, Diei worked over the weekend and provided a

response to Chairperson George by 9 a.m. on Monday, August 31, 2020.




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       72.        The undersigned counsel also submitted a letter to Chairperson George on August

31, 2020, explaining that the Committee’s actions violated Diei’s First and Fourteenth

Amendment rights.

       73.        On Tuesday, September 1, 2020, Diei appeared alone before the Committee to

defend herself.

       74.        During the meeting, Diei again asked what policy she allegedly violated and what

content specifically violated this unknown policy.

       75.        In response, Chairperson George stated that the “sexual” and “crude” nature of

Diei’s posts violated the professionalism policies in the College of Pharmacy Handbook and

Catalog.

       76.        No Committee member provided a specific policy to Diei or quoted the language

of any professionalism policies contained in the College of Pharmacy Handbook and Catalog.

       77.        At the conclusion of the meeting, Diei still did not know what policy she

allegedly violated or what content specifically violated this unknown policy.

       78.        The next day, September 2, 2020, Chairperson George sent Diei the decision of

the Committee.

       79.        In the decision, Chairperson George once again referred generally to

“professionalism policies” in the Handbook and Catalog but did not point to any specific

provision.

       80.        Chairperson George then wrote that Diei “appeared again before the Professional

Conduct Committee on Tuesday, September 1, 2020 to address the recent issue of unprofessional

posts to [her] social media accounts. Those posts again included material of a ‘sexual’ nature, as




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well as ‘crude’ and ‘vulgar’ statements. Further, the public posts included an image identifying

[Diei] as a member of the UTHSC College of Pharmacy.”

       81.     Diei is not aware of any post on her social media accounts that would identify her

as Kimberly Diei, a student at the College of Pharmacy.

       82.     Chairperson George then informed Diei that “the committee has determined that

[her] conduct is a serious breach of the norms and expectations of the professions, and that [she]

do[es] not meet the threshold of professional behavior or the requirements of the Technical

Standards for students in the UTHSC College of Pharmacy. The Committee voted unanimously

to academically dismiss [Diei] from the College of Pharmacy effective immediately.”

       83.     Chairperson George concluded the letter by advising Diei that she had two days to

appeal the Committee’s decision to Dean Chisholm-Burns.

       84.     Diei was shocked by the Committee’s decision to expel her for the content of her

personal social media posts.

       85.     Despite Chairperson George’s references to the various professionalism policies

in the UTHSC Handbook, Catalog, and “Technical Standards for students in the UTHSC College

of Pharmacy[,]” Chairperson George had not provided Diei the text of these policies or explained

how the allegedly “sexual,” “crude,” or “vulgar” nature of her personal social media content

violated those policies.

       86.     On September 2, 2020, Diei emailed Dean Chisholm-Burns asking for a fourteen

(14) day extension of time to prepare material for her appeal.

       87.     Diei requested the extension because she had just completed an exam, and she

was mentally exhausted. Diei was also working at an internship at the time, and she was unsure

if she would be able to complete the appeal and complete her internship work at the same time.




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       88.     Dean Chisholm-Burns denied Diei’s request for an extension.

       89.     On September 4, 2020, Diei submitted her appeal to Dean Chisholm-Burns.

       90.     The undersigned counsel also submitted a letter to Dean Chisholm-Burns on

September 4, 2020, advocating for her to reverse the Committee’s unconstitutional action.

       91.     From September 4, 2020, to September 25, 2020, Diei spoke with Dean

Chisholm-Burns several times about her case and defended herself against expulsion.

       92.     On September 25, 2020, Dean Chisholm-Burns informed Diei that she decided to

reverse the Committee’s decision to expel Diei.

       93.     To this day, Diei does not know what policy she allegedly violated.

       94.     Diei does not know what Chairperson George or the Committee considers to be

too “sexual,” “crude,” or “vulgar” for doctoral students’ personal social media activity so as to

warrant investigation and punishment.

Defendants’ Actions Are Currently Restricting Diei’s Ability to Engage in Protected
Speech and Have Caused Damages to Diei.

       95.     Diei currently attends the College of Pharmacy and remains subject to the

“various professionalism policies” enforced by the Committee.

       96.     As a result of the Defendants’ actions, Diei’s speech has been objectively chilled

because she is currently self-censoring her protected speech.

       97.     Despite her attempts to self-censor, Diei is currently living with a reasonable fear

that the Committee will open another investigation into her social media accounts and attempt to

expel her or otherwise discipline her once again.

       98.     At least once a day, Diei chooses not to post something to her social media

accounts because she is afraid that the Committee will deem her post too “sexual,” “crude,” or

“vulgar” and punish her.



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       99.     Without declaratory and injunctive relief from this Court, Diei will be forced to

continue to self-censor her protected speech.

       100.    As a direct and proximate cause of Defendants’ actions, Diei has suffered

emotional distress, humiliation, embarrassment, and injury to her reputation. Specifically, Diei

believed for three weeks that she had been expelled from her doctoral program. As a result, Diei

believed that her future as a professional had been destroyed by the unconstitutional actions of

Defendants. Although Diei was not expelled, she continues to experience emotional distress to

this day because she believes that the Committee is likely to investigate her speech in the future

and impose disciplinary sanctions, including expulsion.

                                 FIRST CAUSE OF ACTION

                    Violation of the First and Fourteenth Amendments
      Facial Overbreadth Challenge to “Professionalism” Policies (42 U.S.C. § 1983) –
                   (Against All Defendants in Their Official Capacities)

       101.    Plaintiff repeats and realleges each of the foregoing paragraphs in this Complaint.

       102.    A regulation violates the First Amendment for overbreadth if “a substantial

number of instances exist in which the [regulation] cannot be applied constitutionally.” Speet v.

Schuette, 726 F.3d 867, 872 (6th Cir. 2013) (quoting Glenn v. Holder, 690 F.3d 417, 422 (6th

Cir. 2012)).

       103.    The College of Pharmacy’s professionalism policies are unconstitutional on their

face because they give complete discretion to Chairperson George and the Committee to punish a

broad range of protected speech for no legitimate pedagogical reason.

       104.    The College of Pharmacy’s professionalism policies are also overly broad because

they permit the College of Pharmacy to regulate the off-campus, personal speech of students for

no legitimate pedagogical reason.




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       105.    As demonstrated above, the College of Pharmacy is policing the social media

activity of its students and punishing any content it deems “unprofessional.”

       106.    President Boyd is the chief executive officer in charge of the UT system.

President Boyd manages and directs all affairs of the UT system under the policies and

regulations established by the Board. President Boyd is responsible for administering and

enforcing policies and regulations relating to the operation of the College of Pharmacy, including

those that directly resulted in the deprivation of Diei and other College of Pharmacy students’

constitutional rights under the First Amendment to the Constitution, as applied to the states by

the Fourteenth Amendment and 42 U.S.C. § 1983.

       107.    Defendant Chairperson George possesses administrative and enforcement

authority over the College of Pharmacy’s professionalism policies and is responsible for the

implementation and enforcement of those policies, which directly resulted in the deprivation of

Diei’s constitutional rights under the First Amendment to the Constitution, as applied to the

states by the Fourteenth Amendment and 42 U.S.C. § 1983.

       108.    The members of the Board of Trustees “have full power and authority to make

bylaws, rules, and regulations for the governance of the university and the promotion of

education in the university that in the board’s opinion may be expedient or necessary[,]”

including those that directly resulted in the deprivation of Diei and other College of Pharmacy

students’ constitutional rights under the First Amendment to the Constitution, as applied to the

states by the Fourteenth Amendment and 42 U.S.C. § 1983. Tenn. Code Ann. § 49-9-209(e)(1);

Tenn. Code Ann. § 49-9-209(d)(1)(I) (“The board of trustees shall . . . [a]pprove policies

governing student conduct.”).




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       109.    The denial of constitutional rights is an irreparable injury per se. See Elrod v.

Burns, 427 U.S. 347, 373 (1976).

       110.    By suppressing Diei’s constitutionally protected speech, Defendants are inflicting

an ongoing irreparable harm on her.

       111.    Diei has no adequate legal, administrative, or other remedy by which to prevent or

minimize the continuing irreparable harm to her First Amendment Rights.

       112.    Without declaratory and injunctive relief from this Court, Diei will suffer

continuing and irreparable harm indefinitely.

                                SECOND CAUSE OF ACTION

                    Violation of the First and Fourteenth Amendment
           Vagueness Challenge to “Professionalism” Policies (42 U.S.C. § 1983) –
                  (Against All Defendants in Their Official Capacities)

       113.    Plaintiff repeats and realleges each of the foregoing paragraphs in this Complaint.

       114.    A regulation violates the Due Process Clause of the Fourteenth Amendment for

vagueness if a person of ordinary intelligence cannot distinguish between permissible and

prohibited conduct. Grayned v. City of Rockford, 408 U.S. 104, 108 (1972).

       115.    Defendants did not provide Diei with a copy of the policies she allegedly violated

before being summoned to the Committee in 2019 and 2020, and the College of Pharmacy’s

website does not contain the “Standards for Student Professionalism Conduct.”

       116.    To this day, the College of Pharmacy has not provided any specific

“professionalism” policies to Diei.

       117.    Based upon the enforcement of the professionalism policies as described above,

the College of Pharmacy’s professionalism policies are unconstitutional on their face because

they are so vague as to provide no basis for clear and consistent application.




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       118.    The College of Pharmacy’s professionalism policies are also susceptible to

discrimination based on viewpoint because they are intended to, and effectively do, suppress

speech that Chairperson George and the Committee deem offensive.

       119.    President Boyd is the chief executive officer in charge of the UT system.

President Boyd manages and directs all affairs of the UT system under the policies and

regulations established by the Board. President Boyd is responsible for administering and

enforcing policies and regulations relating to the operation of the College of Pharmacy, including

those that directly resulted in the deprivation of Diei and other College of Pharmacy students’

constitutional rights under the Fourteenth Amendment and 42 U.S.C. § 1983.

       120.    Defendant Chairperson George possesses administrative and enforcement

authority over the College of Pharmacy’s professionalism policies and is responsible for the

implementation and enforcement of those policies, which directly resulted in the deprivation of

Diei’s constitutional rights under the Fourteenth Amendment and 42 U.S.C. § 1983.

       121.    The members of the Board of Trustees “have full power and authority to make

bylaws, rules, and regulations for the governance of the university and the promotion of

education in the university that in the board’s opinion may be expedient or necessary[,]”

including those that directly resulted in the deprivation of Diei and other College of Pharmacy

students’ constitutional rights under the Fourteenth Amendment and 42 U.S.C. § 1983. Tenn.

Code Ann. § 49-9-209(e)(1); Tenn. Code Ann. § 49-9-209(d)(1)(I) (“The board of trustees shall

… [a]pprove policies governing student conduct.”).

       122.    The denial of constitutional rights is an irreparable injury per se. See Elrod v.

Burns, 427 U.S. at 373.




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       123.    By suppressing Diei’s constitutionally protected speech, Defendants are inflicting

an ongoing irreparable harm on her.

       124.    Diei has no adequate legal, administrative, or other remedy by which to prevent or

minimize the continuing irreparable harm to the rights under the First and Fourteenth

Amendments.

       125.    Without declaratory and injunctive relief from this Court, Diei will suffer

continuing and irreparable harm indefinitely.

                                 THIRD CAUSE OF ACTION

                    Violation of the First and Fourteenth Amendments
              As-Applied Challenge Free-Speech Violation (42 U.S.C. § 1983) –
                   (Against All Defendants in Their Official Capacities)

       126.    Plaintiff repeats and realleges each of the foregoing paragraphs in this Complaint.

       127.    The Sixth Circuit has held that university restrictions on professional student

speech are unconstitutional unless the restrictions further a legitimate pedagogical interest. Ward

v. Polite, 667 F.3d 727, 734 (6th Cir. 2012). Additionally, the Supreme Court “has not

recognized ‘professional speech’ as a separate category of speech” entitled to less protection

under the First Amendment. Nat’l Inst. of Family & Life Advocates v. Becerra, 138 S. Ct. 2361,

2371 (2018). As a result, universities do not have a legitimate pedagogical interest in enforcing

professionalism policies to censor speech because the First Amendment protects the expressive

rights of professionals.

       128.    Moreover, at a minimum, the Due Process Clause of the Fourteenth Amendment

requires government officials to provide individuals with notice of what policy or law their

conduct violates.




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          129.   Chairperson George violated Diei’s clearly established constitutional rights by

applying the vague and overly broad professionalism policies to punish her online, personal

speech without providing the text of those policies to Diei.

          130.   Diei’s online, personal speech did not have anything to do with the College of

Pharmacy’s curriculum or school-sponsored activities.

          131.   The College of Pharmacy had no pedagogical reason to censor Diei’s online,

personal speech. Specifically, the College of Pharmacy’s actions did not better prepare Diei for

any career in which she will use her degree.

          132.   Chairperson George also violated Diei’s clearly established constitutional rights

by applying the vague and overly broad professionalism policies to punish her online, personal

speech because of the allegedly “sexual,” “crude,” and “vulgar” viewpoints expressed in the

speech.

          133.   Chairperson George and the College of Pharmacy have no pedagogical reason to

punish Diei for expressing allegedly “sexual,” “crude,” and “vulgar” viewpoints on her personal

social media account.

          134.   Chairperson George knew or reasonably should have known that the College of

Pharmacy’s policies, procedures, and practices would lead to this deprivation.

          135.   Chairperson George knew that individuals under her supervision implemented the

College of Pharmacy’s policies, procedures, and practices that deprived Diei of her constitutional

rights, and Chairperson George, with deliberate indifference, failed to act with regard to the

constitutional rights of Diei.

          136.   Defendants’ unconstitutional conduct continues to chill Diei’s right to engage in

constitutionally protected speech on her social media accounts. Before Diei posts any content,




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she considers whether her content may violate the College of Pharmacy’s vague professionalism

policies and result in her expulsion. However, Diei has no way to know if her content would

violate the College of Pharmacy’s professionalism policies because Chairperson George has not

provided Diei with the text of those policies. As a result, Diei has self-censored her speech. This

perfectly illustrates the Supreme Court’s warning that “[t]he mere existence of . . . unfettered

discretion, coupled with the power of prior restraint, intimidates parties into censoring their own

speech . . . .” Lakewood v. Plain Dealer Publ’g Co., 486 U.S. 750, 757 (1988).

       137.    Defendant Boyd is the chief executive officer in charge of the UT system.

President Boyd manages and directs all affairs of the UT system under the policies and

regulations established by the Board. President Boyd is responsible for the administration and

enforcement of policies and regulations relating to the operation of the College of Pharmacy,

including those that directly resulted in the deprivation of Diei and other College of Pharmacy

students’ constitutional rights under the First Amendment to the Constitution, as applied to the

states by the Fourteenth Amendment and 42 U.S.C. § 1983.

       138.    Defendant George possesses administrative and enforcement authority over the

College of Pharmacy’s professionalism policies and is responsible for the implementation and

enforcement of those policies, which directly resulted in the deprivation of Diei’s constitutional

rights under the First Amendment to the Constitution, as applied to the states by the Fourteenth

Amendment and 42 U.S.C. § 1983.

       139.    The members of the Board of Trustees “have full power and authority to make

bylaws, rules, and regulations for the governance of the university and the promotion of

education in the university that in the board’s opinion may be expedient or necessary[,]”

including those that directly resulted in the deprivation of Diei and other College of Pharmacy




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students’ constitutional rights under the First Amendment to the Constitution, as applied to the

states by the Fourteenth Amendment and 42 U.S.C. § 1983. Tenn. Code Ann. § 49-9-209(e)(1);

Tenn. Code Ann. § 49-9-209(d)(1)(I) (“The board of trustees shall … [a]pprove policies

governing student conduct.”).

       140.    As a direct and proximate result of Defendants’ actions as described above, Diei

was deprived of her constitutional rights. As a legal consequence of Defendants’ violation of

Diei’s First and Fourteenth Amendment rights, which are irreparable injuries per se, Diei is

entitled to declaratory and injunctive relief and the reasonable costs of this lawsuit, including

reasonable attorneys’ fees.

                                 FOURTH CAUSE OF ACTION

                     Violation of the First and Fourteenth Amendments
              As-Applied Challenge Free-Speech Violation (42 U.S.C. § 1983) –
            (Against Defendants Boyd and George in Their Individual Capacities)

       141.    Plaintiff repeats and realleges each of the foregoing paragraphs in this Complaint.

       142.    As of 2012, the Sixth Circuit has held that university restrictions on professional

student speech are unconstitutional unless the restrictions further a legitimate pedagogical

interest. Ward v. Polite, 667 F.3d 727, 734 (6th Cir. 2012). Additionally, as of 2018, the

Supreme Court has held that “professional speech” is entitled to full protection under the First

Amendment. Nat’l Inst. of Family & Life Advocates v. Becerra, 138 S. Ct. 2361, 2371 (2018). As

a result, universities are on clear notice that they do not have a legitimate pedagogical interest in

enforcing professionalism policies to censor speech because the First Amendment protects the

expressive rights of professionals.




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          143.   Moreover, at a minimum, the Due Process Clause of the Fourteenth Amendment

requires government officials to provide individuals with notice of what policy or law their

conduct violates.

          144.   Chairperson George violated Diei’s clearly established constitutional rights by

applying the vague and overly broad professionalism policies to punish her online, personal

speech without providing the text of those policies to Diei.

          145.   Diei’s online, personal speech did not have anything to do with the College of

Pharmacy’s curriculum or school-sponsored activities.

          146.   The College of Pharmacy had no pedagogical reason to censor Diei’s online,

personal speech. Specifically, the College of Pharmacy’s actions did not better prepare Diei for

any career in which she will use her degree.

          147.   Chairperson George also violated Diei’s clearly established constitutional rights

by applying the vague and overly broad professionalism policies to punish her online, personal

speech because of the allegedly “sexual,” “crude,” and “vulgar” viewpoints expressed in the

speech.

          148.   Chairperson George and the College of Pharmacy Diei have no pedagogical

reason to punish Diei for expressing allegedly “sexual,” “crude,” and “vulgar” viewpoints on her

personal social media account.

          149.   Chairperson George knew or reasonably should have known that the College of

Pharmacy’s policies, procedures, and practices would lead to this deprivation.

          150.   Chairperson George knew that individuals under her supervision implemented the

College of Pharmacy’s policies, procedures, and practices that deprived Diei of her constitutional




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rights, and Chairperson George, with deliberate indifference, failed to act with regard to the

constitutional rights of Diei.

       151.    Defendants’ unconstitutional conduct continues to chill Diei’s right to engage in

constitutionally protected speech on her social media accounts. Before Diei posts any content,

she considers whether her content may violate the College of Pharmacy’s vague professionalism

policies and result in her expulsion. However, Diei has no way to know if her content would

violate the College of Pharmacy’s professionalism policies because Chairperson George has not

provided Diei with the text of those policies. As a result, Diei has self-censored her speech. This

perfectly illustrates the Supreme Court’s warning that “[t]he mere existence of . . . unfettered

discretion, coupled with the power of prior restraint, intimidates parties into censoring their own

speech . . . .” Lakewood v. Plain Dealer Publ’g Co., 486 U.S. at 757.

       152.    Defendant Boyd is the chief executive officer in charge of the UT system.

President Boyd manages and directs all affairs of the UT system under the policies and

regulations established by the Board. President Boyd is responsible for the administration and

enforcement of policies and regulations relating to the operation of the College of Pharmacy,

including those that directly resulted in the deprivation of Diei and other College of Pharmacy

students’ constitutional rights under the First Amendment to the Constitution, as applied to the

states by the Fourteenth Amendment and 42 U.S.C. § 1983.

       153.    Defendant George possesses administrative and enforcement authority over the

College of Pharmacy’s professionalism policies and is responsible for the implementation and

enforcement of those policies, which directly resulted in the deprivation of Diei’s constitutional

rights under the First Amendment to the Constitution, as applied to the states by the Fourteenth

Amendment and 42 U.S.C. § 1983.




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       154.    As a direct and proximate cause of Defendants’ actions, Diei has suffered

emotional distress, humiliation, embarrassment, and injury to her reputation.

       155.    As a direct and proximate result of Defendants’ actions as described above, Diei

was deprived of her constitutional rights. As a legal consequence of Defendants’ violation of

Diei’s First and Fourteenth Amendment rights, which are irreparable injuries per se, Diei is

entitled to declaratory and injunctive relief, damages, and the reasonable costs of this lawsuit,

including reasonable attorneys’ fees. Diei is seeking monetary damages against Chairperson

George and President Boyd in their individual capacities.

                                  FIFTH CAUSE OF ACTION

                   First Amendment Retaliation Under 42 U.S.C. § 1983 –
           (Against Chairperson George in her Official and Individual Capacities)

       156.    Plaintiff repeats and realleges each of the foregoing paragraphs in this Complaint.

       157.    Chairperson George’s investigation and punishment of Diei in September 2019

were retaliatory actions against Diei because of her First Amendment protected speech, as more

fully discussed above.

       158.    Chairperson George’s investigation and vote to dismiss Diei from the College of

Pharmacy in September 2020 were also retaliatory actions against Diei because of her First

Amendment protected speech, as more fully discussed above.

       159.    Chairperson George cannot identify any non-retaliatory reason for the actions

described in Paragraphs 34 to 46 and 55 to 85.

       160.    The actions of Chairperson George described in Paragraphs 34 to 46 and 55 to 85

have chilled and continue to chill Diei’s exercise of her right to engage in expressive First

Amendment activity.




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       161.      The actions of Chairperson George described in Paragraphs 34 to 46 and 55 to 85

would chill any student of ordinary firmness from exercising their right to engage in expressive

First Amendment activity.

       162.      Plaintiff’s constitutional right to freedom of speech has been denied under the

First Amendment to the Constitution of the United States and 42 U.S.C. § 1983.

       163.      Chairperson George violated Diei’s clearly established constitutional rights, of

which any reasonable college official should have known, rendering her liable to Diei under 42

U.S.C. § 1983.

       164.      As a direct and proximate cause of Chairperson George’s actions, Diei has

suffered emotional distress, humiliation, embarrassment, and injury to her reputation.

       165.      As a direct and proximate result of Chairperson George’s actions as described

above, Diei was deprived of her constitutional rights. As a legal consequence of Chairperson

George’s violation of Diei’s First and Fourteenth Amendment rights, which are irreparable

injuries per se, Diei is entitled to declaratory and injunctive relief, damages, and the reasonable

costs of this lawsuit, including reasonable attorneys’ fees. Diei is seeking monetary damages

only against Chairperson George in her individual capacity.

                                     PRAYER FOR RELIEF

       WHEREFORE, Diei respectfully requests that the Court enter judgment against

Defendants and provide Plaintiff the following relief:

       A.        A declaratory judgment stating that the College of Pharmacy’s professionalism

policies are unconstitutionally overbroad on their face under the First and Fourteenth

Amendments to the Constitution of the United States;




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       B.      A declaratory judgment stating that the College of Pharmacy failed to provide

notice of the professionalism policies that Diei allegedly violated and that those policies are

unconstitutionally vague on their face under the Fourteenth Amendments to the Constitution of

the United States;

       C.      A declaratory judgment stating that the College of Pharmacy’s professionalism

policies as-applied to Diei are unconstitutional, and that they violated Diei’s rights as guaranteed

under the First and Fourteenth Amendments to the Constitution of the United States;

       D.      A declaratory judgment stating that George unconstitutionally retaliated against

Diei because of Diei’s protected speech under the First and Fourteenth Amendments to the

Constitution of the United States;

       E.      A permanent injunction restraining the enforcement of the College of Pharmacy’s

professionalism policies as-applied to Diei;

       F.      A permanent injunction restraining the enforcement of the College of Pharmacy’s

professionalism policies;

       G.      Monetary damages in an amount to be determined by the Court to compensate

Diei for Defendants’ unconstitutional interference with her rights under the First and Fourteenth

Amendments to the Constitution of the United States. Specifically, Diei has suffered emotional

distress as a result of Defendants’ actions;

       H.      An award of attorneys’ fees and costs under 42 U.S.C. § 1988 and other

applicable law; and

       I.      All other further legal and equitable relief as the Court may deem just and proper.




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                                 DEMAND FOR JURY TRIAL

       166.    Plaintiffs demand a trial by jury on all claims triable by a jury in this lawsuit.

DATED:         February 3, 2021


Respectfully Submitted:

/s/ Greg H. Greubel                                 /s/: Edd L. Peyton
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